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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

IN RE:                                   :
Fayyaz Karim and Lisa Karim              :       Case No. 17 - 06548
                                         :       Judge:     Deborah L. Thorne
                 Debtors                 :       Chapter 13
                                         :
Fayyaz Karim and Lisa Karim              :
               Plaintiffs                :
      v.                                 :       Adversary No. 17-0380
                                         :
Bayview Loan Servicing, LLC              :
               Defendant                 :
                                         :

                        BAYVIEW LOAN SERVICING’S
                   CROSS-MOTION FOR SUMMARY JUDGMENT

      Now Comes Bayview Loan Servicing, as servicer for First Midwest Bank

hereinafter "Bayview," and files this Cross-Motion for Summary Judgment against Fayyaz

Karim and Lisa Karim on the adversary complaint filed by the Debtors.


      1.     Plaintiffs commenced this adversary proceeding by filing a Complaint to

Avoid Preference on July 24, 2017.


      2.     The Complaint seeks a determination that the attachment of a citation lien in

favor of Defendant on proceeds of Defendant’s real estate sale is a preference under

Section 547 of the Bankruptcy Code.


      3.     Bayview filed its answer. Plaintiffs filed their Motion for Summary

Judgment on November 3, 2017.


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      4.      There are no issues of material fact regarding the matters alleged in the

complaint.


      5.      Bayview is entitled to judgment in its favor.


      6.      A Statement of Material Facts, supporting Declaration and Memorandum in

favor of Bayview are attached hereto.


      Wherefore Bayview Loan Servicing prays for summary judgment in its favor and for

such other and further relief as this Court deems just.




                                                 Respectfully submitted,

                                          By:      /s/Raymond J. Ostler
                                                 GOMBERG SHARFMAN P.C.,
                                                 on behalf of Bayview Loan Servicing,
                                                 servicer for First Midwest Bank

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